Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 1 of 19




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 1:22-cv-22306-JEM
   GUSTAVO GARCIA,
   and all others similarly situated under
   29 U.S.C. §216(b),

          Plaintiff(s),

   vs.

   GREENE KLEEN OF SOUTH FLORIDA, INC.,
   CIRA FIGUEROA, individually, and
   ANTHONY FIGUEROA, individually,

          Defendants.
                                                     /

               DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES TO
                            PLAINTIFF’S COMPLAINT

          Defendants, CIRA FIGUEROA (“Ms. Figueroa”) and ANTHONY FIGUEROA (“Mr.

   Figueroa”) (together, “Defendants”) by and though undersigned counsel, hereby respond to the

   numbered paragraphs of the Complaint filed by Plaintiff GUSTAVO GARCIA and assert

   affirmative defenses thereto:

          Defendants deny each and every allegation of the Complaint except as may be

   specifically admitted, qualified, or otherwise answered below.    Defendants further state as

   follows:

                                        INTRODUCTION

          1.      This is an action by Plaintiff against Defendants for damages in connection to

   claims for unpaid overtime wages pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et

   seq. (“FLSA”).

   ANSWER: Defendants admit only that Plaintiff purports to bring an action under 29
   U.S.C. §§ 201 et seq. Defendants deny the remaining allegations contained in Paragraph 1
   of the Complaint.
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 2 of 19




           2.      Plaintiff seeks money damages, reasonable attorneys’ fees and costs, and all other

   remedies, including injunctive relief, allowable by law.

   ANSWER: Defendants admit that Plaintiff is seeking money damages, attorneys’ fees and
   injunctive relief, but deny any and all liability and wrongdoing, and deny that Plaintiff is
   entitled to any relief, whether legal, equitable, or otherwise.

                                PARTIES JURIDICTION AND VENUE

           3.      Plaintiff is a former employee of Defendants and at all material times resided in

   Miami-Dade County, Florida.

   ANSWER: Defendants admit that Plaintiff was formerly employed by Defendant Greene
   Kleen of South Florida, Inc. (“Green Kleen”). Defendants are without knowledge or
   information regarding Plaintiff’s place of residence, and therefore, deny the remaining
   allegations in Paragraph 3.


           4.      Defendant Greene Kleen, a for-profit corporation operating out of Miami-Dade

   County, Florida, was at all material times authorized to conduct its for-profit business in Florida

   and it is otherwise sui juris.

   ANSWER: Defendants admit that Greene Kleen is a Florida corporation with its principal
   place of business in Miami-Dade County, Florida.


           5.      Defendant Cira was at all times material hereto a co-owner and co-operator of the

   corporate Defendant for the relevant time period. Defendant Cira ran or otherwise oversaw the

   day-to-day operations of the corporate Defendant, was involved in establishing the business of

   the corporate Defendant, had supervisory authority over Plaintiff, was partially or totally

   responsible for paying Plaintiff’s wages, and had the power to separate Plaintiff from his

   employment.

   ANSWER: Defendants admit that Cira Figueroa is the owner and operator of Greene
   Kleen and had the authority to separate employees from their employment. Defendants
   admit that Cira Figueroa was involved in running Greene Kleen and in establishing Greene
   Kleen. Defendants deny the remaining allegations in Paragraph 5.


                                                   2
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 3 of 19




           6.      Defendant Anthony was at all times material hereto a co-owner and co-operator of

   the corporate Defendant for the relevant time period. Defendant Anthony ran or otherwise

   oversaw the day-to-day operations of the corporate Defendant, was involved in establishing the

   business of the corporate Defendant, had supervisory authority over Plaintiff, was partially or

   totally responsible for paying Plaintiff’s wages, and had the power to separate Plaintiff from his

   employment.

   ANSWER: Denied.

           7.      Defendants were Plaintiff’s direct employers, joint employers, and co-employers

   based on the running of the operation, financials, and control of employees like Plaintiff.

   ANSWER: Defendants admit that Greene Kleen employed Plaintiff. Defendants deny the
   remaining allegations in Paragraph 7.

           8.      Venue is proper in this Court because Defendants transact business in this

   District, Defendants maintain a principal place of business in this District, Defendants employed

   Plaintiff in this District, and the claims arose within the District.

   ANSWER: The allegations in Paragraph 8 state legal conclusions to which a response is not
   required. To the extent a response is deemed to be required, Defendants deny those
   allegations. Furthermore, Defendants deny that Defendants or Greene Kleen engaged in
   any unlawful employment practices.


           9.      All conditions precedent to this action have been satisfied by Plaintiff, waived by

   Defendants, or occurred.

   ANSWER: The allegations in Paragraph 9 state legal conclusions to which a response is not
   required. To the extent a response is deemed to be required, Defendants deny those
   allegations.

   A.      Plaintiff’s Employment With Defendants.

           10.     Plaintiff began working for Defendants during 2019.

   ANSWER: Denied. Plaintiff began working for Greene Kleen in 2020.


                                                      3
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 4 of 19




          11.     During the entirety of his employment with Defendants, Plaintiff worked in a

   non-exempt maintenance position.

   ANSWER: Denied.

          12.     Plaintiff, at all material times, was paid an hourly rate of $11.50.

   ANSWER: Denied.

          13.     Plaintiff worked for Defendants until his separation on February 3, 2022.

   ANSWER: Denied.

          14.     During his employment, Plaintiff solely worked for Defendants and no other

   entity or business.

   ANSWER: Defendants are without knowledge or information regarding the allegations in
   Paragraph 14, and therefore, deny them.


          15.     During his employment, Plaintiff had to adhere to Defendants’ rules, policies, and

   procedures.

   ANSWER: Defendants admit that it maintains rules, policies and procedures that all
   employees must follow.

          16.     During his employment, Plaintiff’s schedules and working periods were set by

   Defendants.

   ANSWER: Defendants admit that Plaintiff’s schedule was set by a Greene Kleen manager.
   Defendants deny the remaining allegations in Paragraph 16.

          17.     During Plaintiff’s employment, he routinely worked beyond forty (40) hours per

   week but Defendants only paid Plaintiff overtime wages on two pay periods out of dozens and

   dozens of pay periods where overtime hours were worked.

   ANSWER: Denied.




                                                    4
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 5 of 19




   B.        Defendants’ Business and Interstate Commerce

             18.   The primary purpose of Greene Kleen is to provide janitorial services to

   commercial clients.

   ANSWER: Defendants admit that Greene Kleen provides janitorial services to commercial
   clients.

             19.   Under information and belief, Plaintiff alleges that Greene Kleen’s gross annual

   revenue exceeded $500,000.00 during 2019, 2020, and 2021.

   ANSWER: Admitted.

             20.   Greene Kleen customarily and regularly bought and sold goods and services that

   crossed state lines.

   ANSWER: Defendants are without knowledge or information regarding the allegations in
   Paragraph 20, and therefore, deny them.

             21.   At all relevant times, Greene Kleen employed two or more employees that

   customarily, continually, and regularly handled goods and materials that i) were purchased from

   a person or entity outside the state of Florida and/or ii) were purchased in Florida but had

   previously traveled through interstate commerce.

   ANSWER: Defendants are without knowledge or information regarding the allegations in
   Paragraph 21, and therefore, deny them.


             22.   Upon information and belief, Greene Kleen obtained and solicited funds from

   non-Florida sources, accepted funds from non-Florida sources, used telephonic (or other

   electronic) transmissions going over state lines to do its business, transmitted funds outside the

   State of Florida, used electronic means to market and run their business in a way that was not

   limited to Florida, and otherwise regularly engaged in interstate commerce during the relevant

   period.



                                                   5
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 6 of 19




   ANSWER: Defendants admit that Greene Kleen has used telephonic and/or electronic
   transmissions to communicate over state lines. Defendants deny the remaining allegations
   in Paragraph 22.


           23.    Greene Kleen, upon information and belief, accepts checks, wire transfers, and

   other forms of payments that are made or processed outside the state of Florida, and did so

   during the relevant period.

   ANSWER: Defendants admit that Greene Kleen has received payments from banks outside
   of Florida.



           24.    Greene Kleen is an employer engaged in interstate commerce and subject to the

   FLSA.

   ANSWER: Defendants admit that Greene Kleen is subject to the Fair Labor Standards
   Act. The remaining allegations in Paragraph 24 are legal conclusions to which a response is
   not required.


           25.    As such, Greene Kleen must be considered Plaintiff’s employer as the term

   employer is defined by 29 U.S.C. § 203.

   ANSWER: Defendants admit that Greene Kleen employed Plaintiff. The remaining
   allegations in Paragraph 25 are legal conclusions to which a response is not required.



   C.      Cira and Anthony Figueroa’s Employment of, and Failure to Properly Pay, Plaintiff

           26.    During the relevant period, Cira was co-owner and co-operator of Defendant

   Greene Kleen. Defendant Cira holds herself out as a corporate office [sic] of Greene Kleen on

   the corporate documents filed with the State of Florida.

   ANSWER: Defendants admit that Cira Figueroa is the owner and operator of Greene
   Kleen, and that Cira Figueroa is listed as Greene Kleen’s owner and registered agent on
   Greene Kleen’s most recent annual report filed with the State of Florida. Defendants deny
   the remaining allegations in Paragraph 26.



                                                   6
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 7 of 19




          27.     During the relevant period, Anthony was co-owner and co-operator of Defendant

   Greene Kleen. Defendant Anthony holds herself [sic] out as the “President” of Greene Kleen on

   the corporate documents filed with the State of Florida.

   ANSWER: Defendants admit that Anthony Figueroa is listed as Greene Kleen’s president
   on Greene Kleen’s most recent annual report filed with the State of Florida. Defendants
   denies the remaining allegations in Paragraph 27.


          28.     During the relevant period, Cira and Anthony Figueroa was Plaintiff’s co-

   manager/supervisor during his employment.

   ANSWER: Denied.


          29.     During Plaintiff’s employment, Cira and Anthony Figueroa provided Plaintiff

   with his work duties, gave feedback on the work Plaintiff performed for Defendants, had the

   ability to discipline Plaintiff, were responsible for recording, calculating, and paying Plaintiff’s

   work hours.

   ANSWER: Denied.


          30.     During the relevant period, Cira and Anthony Figueroa was in control of the

   finances that were utilized to pay Plaintiff’s wages and had the responsibility, in full or in part, of

   ensuring those wages were paid timely and correctly.

   ANSWER: Defendants admit that Cira Figueroa had control of Greene Kleen’s finances.
   Defendants deny the remaining allegations in Paragraph 30.


          31.     Cira and Anthony Figueroa, despite knowledge of Plaintiff’s overtime hours,

   failed to compensate Plaintiff fully and properly.

   ANSWER: Denied.




                                                     7
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 8 of 19




           32.     Cira and Anthony Figueroa intentionally refused to pay Plaintiff overtime wages

   he was owed under the.

   ANSWER: Denied.


           33.     Cira and Anthony Figueroa must be considered Plaintiff’s employers, joint

   employers, or co-employers for purposes of the FLSA as the term employer is defined by 29

   U.S.C. § 203.

   ANSWER: The allegations in Paragraph 33 state legal conclusions to which a response is
   not required. To the extent a response is deemed to be required, Defendants deny those
   allegations.

   D.      Defendants' Illegal Payment Practices Affected All Other Similarly Situated
           Employees.

           34.     Defendants employ many other Maintenance Workers that performed duties in the

   same or similar fashion as Plaintiff.

   ANSWER: Defendants deny that Greene Kleen employs any maintenance workers.


           35.     Defendants employ many other Maintenance Workers that were paid in a same or

   similar fashion as Plaintiff.

   ANSWER: Defendants deny that Greene Kleen employs any maintenance workers.


           36.     Defendants employ many other Maintenance Workers that customarily and

   regularly performed overtime work for which they were not compensated fully.

   ANSWER: Defendants deny that Greene Kleen employs any maintenance workers.
   Defendants further deny that Defendants or Greene Kleen failed properly to compensate
   any employee for overtime work.

           37.     Maintenance Workers for Defendants have worked over forty (40) hours a week

   during the last three (3) years without being paid at a proper time- and-a-half their regular rate of

   pay for all overtime hours worked.

                                                    8
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 9 of 19




   ANSWER: Defendants deny that Greene Kleen employs any maintenance workers.
   Defendants further deny that Defendants or Greene Kleen failed properly to compensate
   any employee for overtime work.


                                 COUNT I
         OVERTIME VIOLATION BY GREENE KLEEN OF SOUTH FLORIDA, INC.
                   UNDER THE FAIR LABOR STANDARDS ACT

          The allegations in Count I are not asserted against Ms. Figueroa or Mr. Figueroa, so no

   response from Defendants is due. To the extent any response from Defendants is due, Defendants

   deny all allegations in Count I, deny all liability, and deny that Plaintiff is entitled to any relief,

   whether legal, equitable, or otherwise.


                                    COUNT II
                OVERTIME VIOLATIONS AGAINST CIRA FIGUEROA UNDER
                         THE FAIR LABOR STANDARDS ACT

          47.     Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1

   through 37 above as if fully set forth herein.

   ANSWER: Ms. Figueroa restates and reasserts each and every response to Paragraphs 1
   through 37, as if set forth fully herein.

          48.     Cira operated the day-to-day activities of Defendants’ business, had supervisory

   authority over Plaintiff, had control/access to Plaintiff’s records for work hours, and was

   partially or totally responsible for paying Plaintiff’s wages.

   ANSWER: Ms. Figueroa admits that she operated Greene Kleen, but denies the remaining
   allegations contained in Paragraph 48.

          49.     Cira scrutinized Plaintiff’s work and controlled how Plaintiff did his job.

   ANSWER: Denied.
       50.   During Plaintiff’s employment with Defendants, Plaintiff worked for Defendants

   over 40 hours per week.

   ANSWER: Denied.


                                                     9
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 10 of 19




          51.    During his employment with Defendants, Plaintiff worked overtime hours for

   which he was not compensated at a rate of no less than one-and-one-half his regular rate of pay

   as required by the FLSA.

   ANSWER: Denied.

          52.    Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

   ANSWER: Denied.

          53.    Cira did not compensate Plaintiff for his overtime despite her knowledge of the

   overtime hours Plaintiff worked and Plaintiff’s multiple complaints to her regarding the lack of

   overtime wages.

   ANSWER: Denied.

          54.    Cira is also jointly and severally liable for double the overtime amounts owed as

   liquidated damages under the FLSA as a result of her intentional and willful violation of the

   FLSA for up to the three-year statute of limitations afforded by the FLSA.

   ANSWER: Denied.

          WHEREFORE, Plaintiff respectfully requests that the Court:

                 a. Enter judgment for Plaintiff against Cira under the FLSA;

                 b. Award Plaintiff actual damages for the unpaid wages;

                 c. Award Plaintiff liquidated damages;

                 d. Award Plaintiff his attorneys’ fees and costs;

                 e. Award Plaintiff all recoverable interest; and

                 f. Award any other relief this Honorable Court deems just and proper.

   ANSWER: The “WHEREFORE” clause, and all of its subparts, following Paragraph 54 of
   the Complaint contains no allegations of fact to which a response is required. To the extent
   any response may be necessary, Defendants deny any and all liability and wrongdoing, and
   denies that Plaintiff is entitled to any relief, whether legal, equitable, or otherwise.


                                                  10
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 11 of 19




                                  COUNT III
            OVERTIME VIOLATIONS AGAINST ANTHONY FIGUEROA UNDER
                       THE FAIR LABOR STANDARDS ACT


          55.     Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1

   through 37 above as if fully set forth herein.

   ANSWER: Mr. Figueroa restates and reasserts each and every response to Paragraphs 1
   through 37, as if set forth fully herein.

          56.     Anthony operated the day-to-day activities of Defendants’ business, had

   supervisory authority over Plaintiff, had control/access to Plaintiff’s records for work hours, and

   was partially or totally responsible for paying Plaintiff’s wages.

   ANSWER: Denied.


          57.     Anthony scrutinized Plaintiff’s wages and controlled the method and the amounts

   Plaintiff was paid for his job.

   ANSWER: Denied.


          58.     During Plaintiff’s employment with Defendants, Plaintiff worked for Defendants

   over 40 hours per week.

   ANSWER: Denied.

          59.     During his employment with Defendants, Plaintiff worked overtime hours for

   which he was not compensated at a rate of no less than one-and-one-half his regular rate of pay

   as required by the FLSA.

   ANSWER: Denied.

          60.     Plaintiff is owed unpaid overtime compensation pursuant to the FLSA.

   ANSWER: Denied.



                                                    11
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 12 of 19




           61.     Anthony did not compensate Plaintiff for his overtime despite his knowledge of

   the overtime hours Plaintiff.

   ANSWER: Denied.

           62.     Anthony is also jointly and severally liable for double the overtime amounts owed

   as liquidated damages under the FLSA as a result of her intentional and willful violation of the

   FLSA for up to the three-year statute of limitations afforded by the FLSA.

   ANSWER: Denied.

           WHEREFORE, Plaintiff respectfully requests that the Court:

                   a. Enter judgment for Plaintiff against Anthony under the FLSA;

                   b. Award Plaintiff actual damages for the unpaid wages;

                   c. Award Plaintiff liquidated damages;

                   d. Award Plaintiff his attorneys’ fees and costs;

                   e. Award Plaintiff all recoverable interest; and

                   f. Award any other relief this Honorable Court deems just and proper.


   ANSWER: The “WHEREFORE” clause, and all of its subparts, following Paragraph 62 of
   the Complaint contains no allegations of fact to which a response is required. To the extent
   any response may be necessary, Defendants deny any and all liability and wrongdoing, and
   denies that Plaintiff is entitled to any relief, whether legal, equitable, or otherwise.

                               COUNT IV
     COLLECTIVE ACTION AGAINST GREENE KLEEN OF SOUTH FLORIDA, INC.
              FOR UNPAID OVERTIME WAGES UNDER THE FLSA

           The allegations in Count IV are not asserted against Ms. Figueroa or Mr. Figueroa, so no

   response from Defendants is due. To the extent any response from Defendants is due, Defendants

   deny all allegations in Count IV, deny all liability, and deny that Plaintiff is entitled to any relief,

   whether legal, equitable, or otherwise.



                                                     12
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 13 of 19




                                COUNT V
      COLLECTIVE ACTION AGAINST CIRA FIGUEROA FOR UNPAID OVERTIME
                         WAGES UNDER THE FLSA

           69.    Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1

   through 37 above as if fully set forth herein.

   ANSWER: Ms. Figueroa restates and reasserts each and every response to Paragraphs 1
   through 37, as if set forth fully herein.

           70.    Cira operated the day-to-day activities of Defendants’ business, had supervisory

   authority over Maintenance Workers, had control/access to records for work hours and pay, and

   was partially or totally responsible for paying Maintenance Workers during the relevant period.

   ANSWER: Ms. Figueroa admits that she operated Greene Kleen, but denies the remaining
   allegations contained in Paragraph 70.


           71.    Cira scrutinized the work of Maintenance Workers during the relevant period and

   controlled how they did their jobs.

   ANSWER: Denied.


           72.    During the relevant period, Maintenance Workers consistently worked over 40

   hours per week for Defendants.

   ANSWER: Denied.

           73.    During their employment with Defendants, Maintenance Workers worked

   overtime hours for which they were not compensated at a rate of time-and-a-half their regularly

   rate of pay as required by the FLSA.

   ANSWER: Denied.

           74.    Maintenance Workers are owed unpaid overtime compensation pursuant to the

   FLSA.

   ANSWER: Denied.

                                                    13
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 14 of 19




          75.     Cira did not compensate Maintenance Workers for their overtime despite

   knowledge of the overtime hours these Maintenance Workers worked.

   ANSWER: Denied.


          76.     Cira is also jointly and severally liable for double the overtime amounts owed as

   liquidated damages under the FLSA as a result of her intentional and willful violation of the

   FLSA for up to the three-year statute of limitations afforded by the FLSA.

   ANSWER: Denied.

          WHEREFORE, Plaintiff respectfully requests that the Court:

                  a. Enter judgment for Maintenance Workers against Cira under the FLSA;

                  b. Award Maintenance Workers actual damages for the unpaid wages;

                  c. Award Maintenance Workers liquidated damages;

                  d. Award attorneys’ fees and costs;

                  e. Award all recoverable interest; and

                  f. Award any other relief this Honorable Court deems just and proper.


   ANSWER: The “WHEREFORE” clause, and all of its subparts, following Paragraph 76 of
   the Complaint contains no allegations of fact to which a response is required. To the extent
   any response may be necessary, Defendants deny any and all liability and wrongdoing, and
   denies that Plaintiff is entitled to any relief, whether legal, equitable, or otherwise.

                                COUNT VI
          COLLECTIVE ACTION AGAINST ANTHONY FIGUEROA FOR UNPAID
                      OVERTIME WAGES UNDER THE FLSA

          77.     Plaintiff re-alleges and incorporate by reference the allegations in paragraphs 1

   through 37 above as if fully set forth herein.

   ANSWER: Mr. Figueroa restates and reasserts each and every response to Paragraphs 1
   through 37, as if set forth fully herein.



                                                    14
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 15 of 19




           78.    Anthony operated the day-to-day activities of Defendants’ business, had

   supervisory authority over Maintenance Workers, had control/access to records for work hours

   and pay, and was partially or totally responsible for paying Maintenance Workers during the

   relevant period.

   ANSWER: Denied.

           79.    Anthony scrutinized the work of Maintenance Workers during the relevant period

   and controlled how they did their jobs.

   ANSWER: Denied.

           80.    During the relevant period, Maintenance Workers consistently worked over 40

   hours per week for Defendants.

   ANSWER: Denied.

           81.    During their employment with Defendants, Maintenance Workers worked

   overtime hours for which they were not compensated at a rate of time-and-a-half their regularly

   rate of pay as required by the FLSA.

   ANSWER: Denied.

           82.    Maintenance Workers are owed unpaid overtime compensation pursuant to the

   FLSA.

   ANSWER: Denied.

           83.    Anthony did not compensate Maintenance Workers for their overtime despite

   knowledge of the overtime hours these Maintenance Workers worked.

   ANSWER: Denied.




                                                 15
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 16 of 19




          84.     Anthony is also jointly and severally liable for double the overtime amounts owed

   as liquidated damages under the FLSA as a result of her intentional and willful violation of the

   FLSA for up to the three-year statute of limitations afforded by the FLSA.

   ANSWER: Denied.

          WHEREFORE, Plaintiff respectfully requests that the Court:

                  a. Enter judgment for Maintenance Workers against Anthony under the FLSA;

                  b. Award Maintenance Workers actual damages for the unpaid wages;

                  c. Award Maintenance Workers liquidated damages;

                  d. Award attorneys’ fees and costs;

                  e. Award all recoverable interest; and

                  f. Award any other relief this Honorable Court deems just and proper.


   ANSWER: The “WHEREFORE” clause, and all of its subparts, following Paragraph 84 of
   the Complaint contains no allegations of fact to which a response is required. To the extent
   any response may be necessary, Defendants deny any and all liability and wrongdoing, and
   denies that Plaintiff is entitled to any relief, whether legal, equitable, or otherwise.

                                            JURY DEMAND

          Defendants deny that Plaintiff has set forth triable issues against Defendants or Greene
   Kleen for jury determination.

                                     AFFIRMATIVE DEFENSES

          Defendants set forth the following affirmative defenses to Plaintiff’s Complaint, and

   reserve the right to add additional affirmative defenses as this case proceeds:


                                        First Affirmative Defense

          Plaintiff’s and/or alleged similarly situated individuals’ FLSA claim is barred in whole or

   in part by the applicable 2-year statute of limitations.



                                                     16
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 17 of 19




                                      Second Affirmative Defense

           During all or part of the applicable limitations period, Defendants and Greene Kleen

   acted in good faith and with reasonable grounds for believing that its acts or omissions were not

   in violation of the FLSA, and therefore cannot be held liable for liquidated damages under the

   FLSA.


                                       Third Affirmative Defense

           To the extent Plaintiff’s and/or alleged similarly situated individuals worked any

   overtime hours for which Plaintiff’s and/or alleged similarly situated individuals were not paid at

   the applicable or appropriate overtime rate, the amount owed is de minimis, and liability,

   therefore, cannot be established under the FLSA.


                                      Fourth Affirmative Defense


           To the extent Plaintiff and/or alleged similarly situated individuals worked overtime

   hours without the actual or constructive knowledge of Defendants or Greene Kleen, Plaintiff

   and/or alleged similarly situated individuals are not entitled to overtime compensation for any

   such overtime hours worked.

                                       Fifth Affirmative Defense

           To the extent Defendants or Greene Kleen are indebted to Plaintiff and/or alleged

   similarly situated individuals for any unpaid overtime compensation, the overtime must be

   calculated at half-time (one half the applicable rate of pay), as Plaintiff’s and/or alleged similarly

   situated individuals’ salary was intended and understood to cover all hours worked.




                                                    17
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 18 of 19




                                         Sixth Affirmative Defense

          To the extent Defendants or Greene Kleen are indebted to Plaintiff and/or alleged

   similarly situated individuals for any unpaid overtime compensation, the extent of Greene

   Defendants’ and/or Kleen’s liability must be offset by the amounts paid or overpaid to Plaintiff

   and/or alleged similarly situated individuals during their employment.


                                    Seventh Affirmative Defense

          Defendants reserve their right to seek to recover from Plaintiff, alleged similarly situated

   individuals, and/or Plaintiff’s counsel reasonable attorneys’ fees and costs in connection with

   Defendants’ defense of this action.

          WHEREFORE, Defendants demand judgment in their favor, together with their

   reasonable attorneys’ fees and costs as provided by law, and such additional relief as the court

   deems just and proper.

   Dated: September 6, 2022                       Respectfully submitted,
          Miami, Florida
                                                  /s/ Paul Crucet
                                                  Florida Bar No. 122169
                                                  E-Mail: pcrucet@stearnsweaver.com
                                                  STEARNS WEAVER MILLER,
                                                   WEISSLER, ALHADEFF & SITTERSON, P.A.
                                                  150 West Flagler Street
                                                  Museum Tower, Suite 2200
                                                  Miami, Florida 33130
                                                  Telephone: (305) 789-3200
                                                  Facsimile: (305) 789-3395
                                                  Attorneys for Defendant




                                                    18
Case 1:22-cv-22306-KMW Document 11 Entered on FLSD Docket 09/06/2022 Page 19 of 19




                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 6, 2022, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF System. I further certify that the foregoing

   document is being served this day on all counsel of record or pro se parties identified on the

   below Service List in the manner specified, either via transmission of Notices of Electronic

   Filing generated by CM/ECF or in some other authorized manner for those counsel or parties

   who are not authorized to receive Notices of Electronic Filing.


                                                               /s/Paul Crucet_________
                                                               PAUL CRUCET, ESQ.




                                           SERVICE LIST


   J. Freddy Perera, Esq.
   Florida Bar No. 93625
   freddy@pba-law.com
   Brody M. Shulman, Esq.
   Florida Bar No. 92044
   brody@pba-law.com
   PERERA ALEMÁN, P.A.
   12505 Orange Drive, Suite 908
   Davie, Florida 33330
   Phone: (786) 485-5232
   Attorneys for Plaintiff




                                                  19
